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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  ALLAN KUSTOK                                       )
                                                     )
                   Petitioner,                       )     No. 21 CV 6932
                                                     )
            v.                                       )
                                                     )     The Honorable
  DAVID MITCHELL, Warden,                            )     Matthew F. Kennelly,
                                                     )     Judge Presiding.
                   Respondent.                       )

                     UNOPPOSED MOTION FOR EXTENSION OF TIME
                           TO FILE REPLY IN SUPPORT OF
                       PETITION FOR WRIT OF HABEAS CORPUS

       NOW COMES Petitioner Allan Kustok, by and through his attorneys, THE

EXONERATION PROJECT at the University of Chicago Law School, and respectfully requests

a one-week extension of time until June 28, 2022 to file his response in support of his Petition for

Writ of Habeas Corpus. In support, Petitioner states as follows:

       1.        On May 19, 2022, after receiving an unopposed extension of time, Respondent filed

a response to Petitioner’s habeas petition. This Court ordered Petitioner to respond by June 20,

2022 (dkt. 17), which was extended to June 21, 2022 by Amended General Order 21-0007.

       2.        Petitioner’s counsel has worked diligently on Petitioner’s reply. However, counsel

must respectfully request a brief one-week extension to complete the Reply.

       3.        This short extension of time is in the interests of justice, will prejudice neither side,

and will be the only extension of time that Petitioner’s counsel will request. Counsel has

communicated with counsel for Respondent, who has indicated that Respondent does not oppose

this motion.

       WHEREFORE, for these reasons, Petitioner respectfully requests until June 28, 2022, to
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file Petitioner’s Reply.

                                                    Respectfully submitted,

                                                    __/s/ Karl Leonard                  .

                                                    Karl Leonard
                                                    THE EXONERATION PROJECT
                                                        at the University of Chicago Law School
                                                    311 N. Aberdeen Avenue, 3rd Floor
                                                    Chicago, IL 60607
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                                                    karl@exonerationproject.org


                               CERTIFICATE OF SERVICE

        I certify that on June 21, 2022, I caused the foregoing UNOPPOSED MOTION FOR
EXTENSION OF TIME TO FILE REPLY IN SUPPORT OF PETITION FOR WRIT OF
HABEAS CORPUS to be electronically filed with the Clerk of the United States District Court for
the Northern District of Illinois via the CM/ECF system, which will effect service on all counsel
of record.

                                                    __/s/ Karl Leonard                  .




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